Case 2:15-ml-02668-PSG-SK Document 1103 Filed 01/05/24 Page 1 of 9 Page ID #:42766



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        League, NFL Enterprises LLC, and the
   15   Individual NFL Clubs
   16                                 UNITED STATES DISTRICT COURT
   17                              CENTRAL DISTRICT OF CALIFORNIA
   18
          IN RE: NATIONAL FOOTBALL                       Case No. 2:15-ml-02668−PSG (SKx)
   19     LEAGUE’S “SUNDAY TICKET”                       NFL DEFENDANTS’ MOTION IN
   20
          ANTITRUST LITIGATION                           LIMINE NO. 1 TO EXCLUDE
          ______________________________                 EVIDENCE AND ARGUMENT
   21                                                    SEEKING TO PROVE THAT
                                                         REVENUE SHARING IS
   22     THIS DOCUMENT RELATES TO:                      ANTICOMPETITIVE
          ALL ACTIONS                                    Judge: Hon. Philip S. Gutierrez
   23
                                                         Date: February 7, 2024
   24                                                    Time: 2:30 p.m.
   25                                                    Courtroom: First Street Courthouse
                                                                    350 West 1st Street
   26
                                                                    Courtroom 6A
   27                                                               Los Angeles, CA 90012
   28
         Case No. 2:15-ml-02668-PSG (SKx)        NFL Defendants’ Motion In Limine No. 1 To Exclude Evidence And
                                                 Argument Seeking To Prove That Revenue Sharing Is Anticompetitive
Case 2:15-ml-02668-PSG-SK Document 1103 Filed 01/05/24 Page 2 of 9 Page ID #:42767
Case 2:15-ml-02668-PSG-SK Document 1103 Filed 01/05/24 Page 3 of 9 Page ID #:42768



    1   defendants’ ability to respond to it or (ii) introduction of the theory at trial would
    2   cause significant prejudice. Both are true here. Plaintiffs accordingly should be
    3   precluded from introducing evidence or arguing that the NFL’s revenue sharing
    4   agreement                                                                                        .
    5                                             ARGUMENT
    6   I.      The Federal Rules Prohibit Parties From Making Arguments For The
                First Time In Expert Rebuttal Reports.
    7

    8           The Federal Rules are designed to prevent unfair surprises like Plaintiffs’
    9   newly disclosed challenge to Section 10.3 of the NFL Constitution that is embedded
   10   in the Elhauge and Rascher rebuttal reports. This belated
   11                                       is barred by Federal Rules of Civil Procedure 8, 26(a),
   12   and 26(e).
   13           Any attempt to introduce a
   14   at trial would violate Federal Rule of Civil Procedure 8, which requires “a plaintiff
   15   [to] identify . . . the grounds for a claim . . . in the complaint itself; a defendant is not
   16   deemed to have fair notice of [grounds for a claim] identified elsewhere.” Oliver v.
   17   Ralphs Grocery Co., 654 F.3d 903, 909 (9th Cir. 2011); see also, e.g., In re TFT-
   18   LCD (Flat Panel) Antitrust Litig., 2012 WL 6708866, at *3 (N.D. Cal. Dec. 26, 2012)
   19   (applying Oliver to antitrust pleading), aff’d, 637 F. App’x 981 (9th Cir. 2016);
   20   Rindlisbacher v. Steinway & Sons Inc., 497 F. Supp. 3d 479, 490 (D. Ariz. 2020)
   21   (same reasoning applied to fraud pleading), aff’d sub nom. Rindlisbacher v. Steinway,
   22   Inc., 2021 WL 6067258 (9th Cir. 2021).
   23           Plaintiffs’ complaint does not provide any notice, much less adequate notice,
   24   of a claim                                                                                . Although the
   25   complaint acknowledges this revenue sharing agreement, see ECF No. 441, Second
   26   Am. Compl. ¶ 81,                                                                          , see generally
   27   id.,                                                                                see id. ¶¶ 155–63.
   28   Plaintiffs must do more than allude to facts in order to state a claim—they have to
                                                          2
         Case No. 2:15-ml-02668-PSG (SKx)            NFL Defendants’ Motion In Limine No. 1 To Exclude Evidence And
                                                     Argument Seeking To Prove That Revenue Sharing Is Anticompetitive
Case 2:15-ml-02668-PSG-SK Document 1103 Filed 01/05/24 Page 4 of 9 Page ID #:42769



    1   make plain in the complaint what they are challenging. As one court in this circuit
    2   has put it, “[d]efendants aren’t required to divine plaintiffs’ claims[.] . . . A complaint
    3   is a roadmap of the case, not a scavenger hunt.” Persian Gulf, Inc. v. BP W. Coast
    4   Prods., Inc., 2020 WL 7427057, at *2 (S.D. Cal. Dec. 17, 2020). Plaintiffs’ complaint
    5   not only failed to disclose this theory; it effectively led Defendants astray.
    6                                                     for the first time through expert rebuttal
    7   testimony is therefore prohibited by Rule 8.
    8           Plaintiffs’ lack of transparency about the claims they are actually pursuing also
    9   violates Rule 26. Rule 26(a) bars introduction of new, unpleaded liability theories by
   10   limiting expert rebuttal to evidence that contradicts or rebuts expert testimony
   11   already in the record. See Fed. R. Civ. P. 26(a)(2)(D)(ii); see also Matthew Enter.,
   12   Inc. v. Chrysler Grp. LLC, 2016 WL 4272430, at *2 (N.D. Cal. Aug. 15, 2016); Vu
   13   v. McNeil-PPC, Inc., 2010 WL 2179882, at *4 (C.D. Cal. May 7, 2010).
   14           Plaintiffs’ experts’ opinions about the NFL’s television revenue sharing
   15   agreement exceed the bounds of rebuttal evidence. Where an expert “first, accepts
   16   [the opposing expert’s] conclusion as true, and second, uses that conclusion ‘as the
   17   springboard’ for his own theory,” Rule 26(a) is clear that he is not offering a rebuttal
   18   opinion—such novel testimony must be disclosed in an opening report, if at all. See
   19   Canning v. Medtronic Inc., 2022 WL 1092801, at *7 (D. Ariz. Apr. 12, 2022); R &
   20   O Constr. Co. v. Rox Pro Int’l Grp., Ltd., 2011 WL 2923703, at *2 (D. Nev. July 18,
   21   2011) (internal quotations and citation omitted) (“If the purpose of expert testimony
   22   is to contradict an expected and anticipated portion of the other party’s case-in-chief,
   23   then the witness is not a rebuttal witness or anything analogous to one.”). In offering
   24   opinions about the                                                                      , Elhauge and
   25   Rascher stepped beyond their roles as rebuttal experts and presented an entirely new
   26   theory of liability for Plaintiffs.
   27           Moreover, Mr. Elhauge does not contradict or rebut Dr. Bernheim’s economic
   28   analysis of revenue sharing at all. To the contrary, he begins his discussion of Dr.
                                                      3
         Case No. 2:15-ml-02668-PSG (SKx)        NFL Defendants’ Motion In Limine No. 1 To Exclude Evidence And
                                                 Argument Seeking To Prove That Revenue Sharing Is Anticompetitive
Case 2:15-ml-02668-PSG-SK Document 1103 Filed 01/05/24 Page 5 of 9 Page ID #:42770



    1   Bernheim’s analysis by conceding that Dr. Bernheim                                        about the relevant
    2   economics, ECF No. 962-29, Elhauge Rebuttal Rep. ¶ 26, and then uses that agreed
    3   economic opinion as a                            for the newly disclosed legal theory that Section
    4   10.3 of the NFL Constitution is subject to challenge and therefore
    5                                       see id. Mr. Elhauge cannot use the economic weaknesses in
    6   Plaintiffs’ expert case as a basis for asserting a new theory. See Pluck v. BP Oil
    7   Pipeline Co., 640 F.3d 671, 681 (6th Cir. 2011) (that “the weaknesses in the expert’s
    8   prior testimony have been revealed” does not permit the expert to later introduce a
    9   new theory in a rebuttal report to correct his own past failures). Plaintiffs accordingly
   10   violated Rule 26(a) when they did not disclose in their initial expert disclosures their
   11   experts’ opinions suggesting that
   12

   13           Finally, in violation of Rule 26(e), Plaintiffs failed to amend their interrogatory
   14   responses to assert                                                                                  . Plaintiffs
   15   have an affirmative duty to update materially incomplete interrogatory responses
   16   throughout discovery. Fed. R. Civ. P. 26(e)(1)(A); see also Apple, Inc. v. Samsung
   17   Elecs. Co., Ltd., 2012 WL 3155574, at *3–6 (N.D. Cal. Aug. 2, 2012) (Koh, J.).
   18           Plaintiffs did not do so. During the course of discovery, the NFL Defendants
   19   asked Plaintiffs whether the NFL and its clubs would continue revenue sharing in the
   20   proposed “but-for world[s].” Plaintiffs responded:
   21         [A]nticompetitive restraints are unnecessary to equalize revenue among
              the clubs. The NFL Defendants have an extensive revenue-sharing
   22         program that extends beyond broadcast revenue, and other sports
   23         leagues use a variety of means to share revenue. If the NFL Defendants
              wish to achieve a more equal allocation of revenue among the clubs than
   24         a free market would produce, it is not necessary to restrain output and
   25         charge monopoly prices to do so. Direct revenue sharing could achieve
              the same aim without any of these restraints and consequent harm to
   26         consumers.
   27   Pastan Decl. Ex. 1, Residential Pls.’ Resp. Interrog. 24 (emphasis added).
   28

                                                               4
         Case No. 2:15-ml-02668-PSG (SKx)                 NFL Defendants’ Motion In Limine No. 1 To Exclude Evidence And
                                                          Argument Seeking To Prove That Revenue Sharing Is Anticompetitive
Case 2:15-ml-02668-PSG-SK Document 1103 Filed 01/05/24 Page 6 of 9 Page ID #:42771



    1              Far from disclosing
    2

    3   Plaintiffs actually endorsed revenue sharing as a procompetitive alternative to the
    4   challenged conduct. This                                            Mr. Elhauge’s assertion for the
    5   first time on rebuttal that the NFL’s revenue sharing agreement
    6                                                                                          ECF No. 962-29,
    7   Elhauge Rebuttal Rep. ¶ 26.
    8              If Plaintiffs’ contention is
    9                                                                                       , they had a duty to
   10   update their interrogatory responses to so reflect, especially when Defendants had
   11   specifically raised the issue. Their failure to do so violated Rule 26(e).
   12   II.        Plaintiffs’ Late Disclosure Failed To Put Defendants On Notice And
   13
                   Prejudiced Defendants.

   14              The appropriate consequence for Plaintiffs’ untimely disclosure of this new
   15   theory is exclusion at trial. Rule 8 prohibits a party from proceeding to trial on claims
   16   not pleaded in the complaint unless a defendant has “fair notice” of those claims.
   17   Oliver, 654 F.3d at 908–09. And evidence that violates Rule 26(a) or 26(e) is
   18   automatically excluded unless the offending party can show that their discovery
   19   violations were “harmless.” Goodman v. Staples The Off. Superstore, LLC, 644 F.3d
   20   817, 827 (9th Cir. 2011) (citing Fed. R. Civ. P. 37(c)(1)). Although these standards
   21   differ slightly,2 they ultimately raise the same question: Did Defendants have
   22   sufficient notice that Plaintiffs would pursue this claim to allow them to fairly defend
   23   against it?
   24              The answer is plainly no. The NFL could not know that it would need to defend
   25

   26
        2
          For violations of Rules 26(a) and (e), the burden is on the violating party (here, Plaintiffs) to prove
   27   good cause or lack of prejudice. Goodman, 644 F.3d at 827. The Rule 8 analysis turns on whether
   28   the other party had adequate notice. See Oliver, 654 F.3d at 909 (applying the Twombly standard to
        Rule 8 challenges). Under either standard, lack of notice and prejudice are established.
                                                            5
            Case No. 2:15-ml-02668-PSG (SKx)           NFL Defendants’ Motion In Limine No. 1 To Exclude Evidence And
                                                       Argument Seeking To Prove That Revenue Sharing Is Anticompetitive
Case 2:15-ml-02668-PSG-SK Document 1103 Filed 01/05/24 Page 7 of 9 Page ID #:42772



    1                                         The NFL’s revenue sharing agreement is publicly
    2   available.          See         NFL    Const.         §     10.3,         available           at,        e.g.,
    3   https://pennstatelaw.psu.edu/online-documentary-supplement. And even though
    4   Plaintiffs acknowledged that the NFL Constitution provides for the equal sharing of
    5   all television revenue in their 2016 Complaint, see ECF No. 163, First Am. Compl.
    6   ¶ 81,
    7                           . see id. ¶¶ 155–63. To the contrary, Plaintiffs repeatedly made clear
    8

    9                                                                                                  . See ECF
   10   No. 778-3, Rascher Class Cert. Reply Rep. ¶ 145 (there is
   11

   12                                                    ”); ECF No. 962-4, Expert Report of Daniel
   13   A. Rascher, dated February 17, 2023 (“Rascher Rep.”) ¶ 273
   14

   15                                                                                                  ”).
   16           Defendants built their discovery requests, their depositions, and their expert
   17   reports around these representations. Plaintiffs’ bait-and-switch—repeatedly
   18   disclaiming a theory only to reverse course at the last minute—is a strong indication
   19   of prejudice and warrants exclusion. See Hous. Auth. of Los Angeles v. PCC Tech.
   20   Indus., Inc., 2015 WL 13864845, at *2–3 (C.D. Cal. Mar. 4, 2015); Oracle USA, Inc.
   21   v. SAP AG, 264 F.R.D. 541, 544 (N.D. Cal. 2009). In particular, Defendants had no
   22   opportunity to take fact discovery to
   23                                                   . Defendants had no opportunity to address
   24                                                               generate individualized issues that
   25   would defeat class certification. And Defendants are not even able to offer responsive
   26   merits expert evidence, as Plaintiffs’ new theory of liability was first revealed only
   27   after the deadline for Defendants to disclose their expert opinions under Rule 26. See,
   28   e.g., Apple, 2012 WL 3155574, at *6 (emphasizing the prejudice from late-disclosed
                                                          6
         Case No. 2:15-ml-02668-PSG (SKx)            NFL Defendants’ Motion In Limine No. 1 To Exclude Evidence And
                                                     Argument Seeking To Prove That Revenue Sharing Is Anticompetitive
Case 2:15-ml-02668-PSG-SK Document 1103 Filed 01/05/24 Page 8 of 9 Page ID #:42773



    1   liability theories because “experts [a]re in effect locked-in to the factual record as of
    2   the time fact discovery close[s] and c[an] not test the factual basis for the newly
    3   amended contentions by conducting additional discovery”).
    4           As result of this prejudice, this Court should bar from trial any assertion or
    5   evidence seeking to prove that
    6                                                                      . See Shannon Fabrics, Inc.
    7   v. Jo-Ann Stores, Inc., 2015 WL 12752445, at *2 (C.D. Cal. Jan. 6, 2015).
    8   Dated: January 5, 2024                  Respectfully submitted,
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         Case No. 2:15-ml-02668-PSG (SKx)       NFL Defendants’ Motion In Limine No. 1 To Exclude Evidence And
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Case 2:15-ml-02668-PSG-SK Document 1103 Filed 01/05/24 Page 9 of 9 Page ID #:42774


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         Case No. 2:15-ml-02668-PSG (SKx)   NFL Defendants’ Motion In Limine No. 1 To Exclude Evidence And
                                            Argument Seeking To Prove That Revenue Sharing Is Anticompetitive
